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              Exhibit 21
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            Rialto 40:14iiii                                                    July 9, 2020


            VIA FEDEX OVERNIGHT
            767 8th Avenue, LLC
            Sherman Management, LLC
            c/o BOA Shadow Servicing
            900 West Trade Street, Suite 650
            Charlotte, NC 28255



            Re:      NOTICE OF EVENT OF DEFAULT AND DEMAND FOR PAYMENT

                     Loan (the "Loan") made to 767 8th Avenue, LLC and Sherman Management, LLC
                     ("collectively", "Borrowers"), in the original principal amount of $11,500,000.00,
                     secured by, among other things, a consolidated, amended and restated fee and leasehold
                     mortgage and security agreement encumbering property located at 767 Eighth Avenue,
                     New York, NY 10036, the "Property"), and a Guaranty executed by Joginder Y. Sharma
                     ("Guarantor"), which Loan is currently held by U.S. Bank National Association, as
                     Trustee for the registered Holders of Morgan Stanley Capital I Inc., Commercial
                     Mortgage Pass-Through Certificates, Series 2012-C5 ("Lender"), and being specially
                     serviced by Rialto Capital Advisors, LLC ("Rialto") / Pool: MSBAM 2012-C5; Loan No.
                     10073640


            Dear Borrower:

                   Rialto is the Special Servicer with respect to the Loan and is empowered to act on behalf
            of Lender in connection with the Loan. Initially capitalized terms used in this letter, but not
            otherwise defined, shall have the meanings ascribed to such terms in the loan documents that
            evidence and secure the Loan (collectively, the "Loan Documents")

                    An Event of Default has occurred under the Loan Documents and continues to exist as of
            the date hereof by virtue of the Borrower's failure to make the payment due on April 10th, 2020
            in accordance with the terms of the Loan Documents.

                    Please be advised that interest shall be imposed at the Default Rate from and after April
            10th, 2020 in accordance with the Loan Documents and to the extent permitted under applicable
            law. In addition, Lender may, at its option and without further notice or demand, exercise all
            rights and remedies provided under the Loan Documents or otherwise available at law or in
                                                    Rialto Capital Advisors, LLC
                                        200 S. Biscayne Blvd., Suite 3550, Miami, FL 33131
                                                305-485-2077  Fax 305-229-2724
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            Sherman Management, LLC
            July 9th, 2020
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            equity, including, without limitation, the acceleration of the entire principal amount, all accrued
            interest and all other amounts outstanding under the Loan Documents and the initiation of
            foreclosure and other collection proceedings. Please contact Nicholas Powell at Rialto Capital
            Advisors for the amount due and owing (the "Total Due"). He can be reached at (305) 485 -
            2539 and nicholas.powell@RialtoCapital.com.

                    Further, in the event Borrower makes any subsequent payment to Lender of any amount
            less than the Total Due (“Partial Payment”), Lender may, at its option, apply such Partial
            Payment to the Total Due as a Partial Payment. No such Partial Payment or the acceptance
            thereof by Lender shall constitute or be deemed or construed as a waiver of any Event of Default
            or demand for payment under the Loan Documents. In addition, any Partial Payment or the
            acceptance of any Partial Payment by Lender shall not constitute or be deemed or construed as a
            cure of any existing Event of Default under the Loan Documents, a modification of the Loan
            Documents or the terms of this letter, or a waiver, modification, relinquishment or forbearance
            by Lender of any of Lender’s rights or remedies under the Loan Documents or at law or at
            equity, all of which rights and remedies Lender hereby expressly reserves including, without
            limitation, the Event of Default and demands referenced above.

                    Nothing contained in this letter shall constitute (i) a waiver or modification of the terms
            of the Loan Documents or of any of Lender's rights or remedies under the Loan Documents; (ii)
            a waiver by Lender of any defaults under the Loan Documents (whether or not (X) known to
            Lender, (Y) described herein, or (Z) currently existing or occurring hereafter); (iii) an election of
            remedies; or (iv) a warranty or representation or agreement that Lender will amend or modify the
            existing terms of the Loan, or that Lender will take or forbear from taking any action with
            respect to the Loan.

                    No modification of the Loan Documents and no agreement or understanding of any
            nature shall be deemed to have been entered into by or be binding upon Lender or Rialto unless
            and until Lender, Borrower and Guarantor have reached agreement on all issues, and such entire
            agreement shall have been reduced to a written document that expressly states that it modifies
            the Loan Documents and is fully executed by Lender, Borrower and Guarantor. Oral
            agreements, emails, memoranda of meetings, summaries of proposed terms, etc., shall have no
            effect whatsoever and shall not be binding upon Lender or Rialto.

                     PLEASE BE GOVERNED ACCORDINGLY.


                                                      Very truly yours,
                                                                 r—DocuSigned by:


                                                                    kiatas Pam-CC
                                                      __________________________
                                                      Nicholas Powell,  Asset Manager
                                                                 \-27DCA8DF58EE47E...



                                                    Rialto Capital Advisors, LLC
                                        200 S. Biscayne Blvd., Suite 3550, Miami, FL 33131
                                                305-485-2077  Fax 305-229-2724
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            Pursuant to the Fair Debt Collection Practices Act, you are advised that this office is
            deemed to be a debt collector, that the debt collector is attempting to collect a debt, and any
            information obtained will be used for that purpose.

            ATTENTION TO ANY DEBTOR IN BANKRUPTCY OR ANY DEBTOR WHO HAS
            RECEIVED A DISCHARGE IN BANKRUPTCY OR WHO MAY HAVE PAID OR
            SETTLED, OR OTHERWISE NOT BE OBLIGATED UNDER, THE LOAN: Please be
            advised that, anything contained in this letter to the contrary notwithstanding, in the event that
            Borrower or Guarantor has filed for protection under the United States Bankruptcy Code or any
            similar state law (collectively, "Insolvency Laws"), this letter constitutes neither a demand for
            payment of the Loan nor a notice of personal liability to nor action against any recipient hereof
            who might have received a discharge of the Loan in accordance with applicable Insolvency Laws
            or who might be subject to the automatic stay of Section 362 of the United States Bankruptcy
            Code, or other similar Insolvency Law, or who has paid or settled or is otherwise not obligated
            by law for the Loan.


            Also sent by FedEx Overnight to the following:
            Guarantor(s):
            Joginder Y. Sharma
            110-43 63rd Road
            Forest Hills, NY 11375




                                                    Rialto Capital Advisors, LLC
                                        200 S. Biscayne Blvd., Suite 3550, Miami, FL 33131
                                                305-485-2077  Fax 305-229-2724
